                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS




D.V.D.. et al.,
Individually and on behalf of all others
similarly situated,                                                  Civil Action No. I :25-cv-10676-BEM


                       Plaintiffs,

        v.

U.S. Department of Homeland Security,
et a!.,


                       De/’ndants.




             DECLARATION OF DEPUTY ASSISTANT ATTORNEY GENERAL
                              DREW C. ENSIGN

Pursuant to 28 U.S.C. § 1746, I, Drew C. Ensign, declare as follows:

   1. I am a Deputy Assistant Attorney General within the Civil Division of the U.S. Department

      of Justice (DOJ). I am an attorney of record in this matter.

  2. I provide this declaration under the pains and penalties of perjury, based on my personal

      knowledge, reasonable inquiry, and information obtained from the U.S. Department of

      Homeland Security (DHS).

  3. Pursuant to this Court’s Order (ECF No. 122), I certify that DHS has provided notice of this

      Court’s orders (ECF Nos. 64, 86, 118) and their contents, including the clarified prelirninamy

      injunction’s requirement that the alien “must be given a meaningful opportunity, and a
      minimum of ten days, to raise a fear-based claim for CAT protection prior to removal” to

       all individuals involved in the removal process as follows: The notice was sent to all

      personnel in U.S. Immigration and Customs Enforcement (ICE).           Furthermore, DHS has

      also notified U.S. Customs and Border Protection (CBP) Office of Field Operations, and

      CBP U.S. Border Patrol by having the headquarters offices of both the Office of Field

      Operations and US Border Patrol cascade the clarified preliminary injunction and its

      contents to field leadership, who are responsible for dissemination to all officers and agents

      in the field. Furthennore, DHS has notified all these personnel that failure to comply with

      the terms of the preliminary injunction may result in civil or criminal contempt.

  4. DHS Acting General Counsel Joseph Mazzara provided notice of the Court’s Orders (ECF

      Nos. 64, 86, 118), as well as the Court’s admonition that failure to comply with the terms

      of the preliminary injunction may result in civil or criminal contempt, to the U.S.

      Department of State, Office of the Legal Adviser, and the U.S. Department of Defense,

      Office of General Counsel. DHS has also provided this information to ICE’s flight

      contractors.


I declare under penalty of perjury that the foregoing is true and correct.


Signed on the 28th day of May, 2025




                                                      Drew C. Ensign
                                                      Deputy Assistant Attorney General
                                                      U.S. Department of Justice




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